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                           UNITED STATES DISTRICT COURT
                          FOR MIDDLE DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                        )

                                                )
               v.
                                                )    Criminal No. 5:24-cr-00097-TPB-PRL-1

DANIEL BALL,                                    )

                       Defendant.                )

              DEFENDANT BALL’S SUPPLEMENT TO HIS MOTION
        FOR ARRAIGNMENT IN ABSTENTIA AND TO COMPEL DISCOVERY

       Daniel Ball, by and through undersigned counsel, respectfully files this Supplement to his

Motion for Arraignment in Abstentia and Motion to Compel Discovery, see ECF No. 8, to ensure

there is no misunderstanding as to a representation made in the Motion.

       In Footnote 1, we provided the following: “The USAO for the District of Columbia has

represented orally and in writing that the justification for its decision on the charges brought and

the plea offer extended (which we believe are examples of disproportionately severe treatment of

Mr. Ball as compared to similarly situated defendants) was the representations Mr. Ball made

during his custodial interrogation that it found offensive, such as statements were he took issue

with the current presidential administration. Just last month, following arguments on the sincere

concerns about the government’s unconstitutional and unethical conduct in the D.C. case

(including the government’s failure to produce Brady material/information) and the prejudice that

may result by resolving the D.C. case prior to the instant case, the D.C. District Court vacated all

dates and asked for a comprehensive briefing setting forth all instances of government misconduct

in Mr. Ball’s case. See Minute Entry (Oct. 29, 2024).” Counsel did not at all intend to imply that

government misconduct was a reason that the D.C. District Court decided to vacate the dates in




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that matter. Counsel simply intended to provide a quick note to procedurally orient this Court.

Indeed, counsel only wanted this Court to be informed that the dates in the D.C. case were recently

vacated (which would weigh in favor of having Mr. Ball arraigned sooner rather than later) and to

inform this Court that counsel’s concerns about the plea offer and other aspects of the D.C. case

would be addressed in a comprehensive briefing that is forthcoming (which is directly relevant to

the reason for the inclusion of Footnote 1: the plea offer that was advanced in the D.C. case). To

be clear, the D.C. District Court did not make any finding as to government misconduct or rely on

such a justification in deciding to vacate the dates in the D.C. case.

       Further, we apologize for any confusion that the representation in Footnote 1 may have

caused this Court.



                                                       Respectfully submitted,

                                                       __________/s/_________________
                                                       Amy C. Collins
                                                       D.C. Bar No. 1708316
                                                       888 17th Street, NW, Suite 1200
                                                       Washington, D.C. 20006
                                                       (228) 424-0609
                                                       amy@amyccollinslaw.com
                                                       acollins@kalbianhagerty.com
                                                       Counsel for Daniel Ball


                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 18th day of December 2024, I caused a true and correct

copy of the foregoing Supplement to be delivered via CM/ECF to all parties.


                                                       _________/s/_______________
                                                       Amy C. Collins




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